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                      EXHIBIT B
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                                                              1                                                                           3
   1          IN THE UNITED STATES DISTRICT COURT                 1    (APPEARANCES continued.)
   2           FOR THE DISTRICT OF MASSACHUSETTS                  2
   3                                                              3         ON BEHALF OF RAYMOND JENNINGS, M.D.:
   4    In re: NEURONTIN MARKETING,                               4          ELANA GOLD, ESQUIRE (via teleconference)
   5    SALES PRACTICES AND PRODUCTS                              5          Law Offices of Steven D. Hillyard, APC
   6    LIABILITY LITIGATION                                      6          345 California Street, Suite 1770
   7    _____________________________/                            7          San Francisco, California 94104
   8    THIS DOCUMENT RELATES TO: MDL Docket No. 16               8          Telephone: 415.334.6880
   9    Bulger v. Pfizer, et al.   Master File No. 04-10981       9          Facsimile: 415.334.6967
   10   07-11426-PBS                                              10         Email: Egold@hdmlaw.com
   11                                                             11
   12   Smith v. Pfizer, et al.                                   12   ALSO PRESENT: Robert Kowalchik, Videographer
   13   05-CV-11515-PBS                                           13
   14   Crone v. California State Court                           14
   15   ________________________________/                         15
   16                                                             16
   17          The videotaped deposition of SHEILA WEISS          17
   18   SMITH, PH.D. was held on Monday, December 22, 200         18
   19   commencing at 9:17 A.M., at the Law Offices of Goodel     19
   20   DeVries, Leech & Dann, LLP, 20th Floor Commerce Pla       20
   21   One South Street, Baltimore, Maryland 21202,              21
   22   before Ronda J. Thomas, a Notary Public.                  22
   23                                                             23
   24   Job No.: 183061                                           24
   25   REPORTED BY: Ronda J. Thomas, RPR, CLR                    25



                                                              2                                                                           4
   1    APPEARANCES:                                              1                       INDEX
   2                                                              2           Deposition of SHEILA WEISS SMITH, Ph.D.
   3       ON BEHALF OF THE PLAINTIFFS, PRODUCTS LIA              3                 December 22, 2008
   4       STEERING COMMITTE AND CRONE:                           4
   5         KEITH ALTMAN, ESQUIRE                                5    EXAMINATION BY:                                   PAGE
   6         Finkelstein & Partners                               6    Mr. Altman                                6
   7         436 Robinson Avenue                                  7    Mr. Barnes                            329
   8         Newburgh, New York 12550                             8    Mr. Altman                            331
   9         Telephone: 845.562.0203                              9
   10        Facsimile: 845.562.3492                              10   EXHIBIT NUMBER:                                   MARKED
   11        Email: Kaltman@lawampmmt.com                         11   18    Supplemental Report                          5
   12                                                             12   19    Materials considered                         5
   13      ON BEHALF OF PFIZER AND MDL:                           13   20    Current CV                              5
   14        RICHARD M. BARNES, ESQUIRE                           14   21    Materials relied on by Dr. Weiss Smith                 5
   15        MICHAEL J. WASICKO, ESQUIRE                          15   22    Gabapentin Related Clinical Study Cases                155
   16        Goodell, DeVries, Leech & Dann, LLP                  16   23    Statement by Janet Woodcock, M.D.                      195
   17        One South Street, 20th Floor                         17   24    3 page document Pfizer_MHauben_0000123-125
   18        Baltimore, Maryland 21202                            18   25    Cumulative Percentage Reports of
   19        Telephone: 410.783.4000                              19        Suicidal and Self-Injurious Behavior              228
   20        Facsimile: 410.783.4040                              20   26    FDA letter                      265
   21        Email: Rmb@gdldlaw.com, mjw@gdldlaw.com              21   27    Chart - Percentage of Serious Reports              280
   22                                                             22   28    Invoices                       328
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   1    some data mining and for the data mining you don't see       1              MR. BARNES: Let's try to mark it.
   2    a signal, does that mean that the person, the clinical       2              MR. ALTMAN: I only have one copy.
   3    reviewer, was wrong when they thought there was a            3              MR. BARNES: I can do that quickly.
   4    signal there?                                                4              MR. ALTMAN: Okay.
   5            MR. BARNES: Objection. If you know.                  5              MR. BARNES: Two seconds I'll get this
   6       A     Data mining is a signal of disproportional          6    copied.
   7    reporting. There's a lot of reasons why things may           7              MR. ALTMAN: I don't need a copy. If you
   8    signal that are true may signal and things that are          8    want to just mark that one.
   9    false may signal and vice versa. I don't understand --       9              MR. BARNES: Let's mark this one as the
   10      Q     So I think what -- I let her finish. Did            10   next exhibit in the deposition.
   11   you finish your answer?                                      11            (Whereupon, a document was marked as
   12      A     I don't understand how you're putting these         12   Deposition Exhibit Number 22.)
   13   two things together, data mining and --                      13             (Witness reading.)
   14      Q     I received a -- I'm in pharmacovigilance            14      Q       I just want you to take a look at that
   15   for a pharmaceutical company and I've received a numb        15   quickly.
   16   of case reports that I believe constitutes a signal,         16             MR. BARNES: The date on it, let me say
   17   okay, I decide that I need to do some followup along         17   what it is for the record. It's a printout, Serious
   18   those lines.                                                 18   Adverse Events, Gabapentin Related Clinical Studies
   19           One of the thing I choose to do is some              19   cases 1/1/1980 to 31/12/2003.
   20   data mining. When I do the data mining I don't find          20      Q       Which is the European date?
   21   any signal in the data mining. Does that mean there's        21             MR. BARNES: Yes.
   22   no signal that -- from my clinical judgment?                 22      Q       It appears to be run on 5th of February,
   23           MR. BARNES: You're a doctor? The person              23   2004, correct? If you look all the way on the
   24   doing the data mining, the person that's doing the           24   right-hand -- all the way on the right-hand side?
   25   pharmacovigilance --                                         25             MR. BARNES: Yeah.



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   1            MR. ALTMAN: I'm in pharmacovigilance, it             1       Q       It's also marked as Pfizer, underscore,
   2    doesn't matter.                                              2    THO, underscore, 00007 -- I'm sorry, 793.
   3       Q     The person working in the pharmaceutical            3              MR. BARNES: Thank you. That's good
   4    company in the pharmacovigilance department has              4    enough.
   5    concluded based on case reports that there is a signal.      5       Q       I'd like you to go to page four of the
   6    If you then go do some data mining and you don't see         6    document. First of all, does this appear to be a
   7    any signal in the data mining, does that mean the            7    listing of serious adverse event reports from the
   8    person was wrong?                                            8    Gabapentin related clinical studies cases?
   9       A     I don't know.                                       9       A       That's the title.
   10      Q     Okay. So the absence?                               10      Q       Okay. On page four, the second item down,
   11      A     From what you've given me, I don't know. I          11   do you see that one? It's a got number of
   12   don't know -- it's going to depend on the circumstance       12   001-0945-9600035. Did I read that correctly?
   13   whether what they think is a signal ends up being a          13      A       Which number down?
   14   true association or not or causal or not. That's a           14      Q       The second report. I'm sorry it's --
   15   long way off from what you're asking.                        15             MR. BARNES: Is it the one --
   16      Q     But the absence of a signal in data mining          16      Q       I'm sorry, it's the third page of the
   17   does not mean everything is a okay; is that correct?         17   document.
   18      A     That can be the case. Not everything will           18      A       The second report down? Say the number
   19   signal in data mining, it's only proportional                19   again.
   20   reporting.                                                   20      Q       Under the event term, it says psychosis,
   21      Q     That's all I'm trying to get at.                    21   are we talking about same page now?
   22           Dr. Weiss Smith, I'm going to hand you a             22             MR. BARNES: 0010945960035. Is that the
   23   document, I'm not going to mark it as an exhibit -- it       23   one?
   24   was marked. We can mark it if you want. I only have          24      Q       Yes, do you see that one there? It should
   25   one copy?                                                    25   be the second one on the page. Did I read that report




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   1    is suicidal ideation marked serious, with one of the           1    lay person.
   2    serious criteria, then are you saying those people are         2       Q       Well, is it an attempt?
   3    wrong?                                                         3       A       Again, I don't know. There's a fine
   4       A       Again, if it met the FDA definition of              4    degradation between these and I don't want to sit there
   5    serious, based on the legal definition of serious,             5    and make a clinical judgment.
   6    that's amazing. I mean, I'm just surprised.                    6       Q       So somebody, a clinician, could consider
   7             It would be, you know, require death,                 7    that suicide ideation, correct?
   8    hospitalization, initial prolonged, congenital anomaly,        8       A       I don't want to make a clinical judgment.
   9    life threatening. So I mean, these are the issues.             9       Q       I'm not asking you. I'm saying a
   10   Maybe there is a case, but I'm not going to hypothesize        10   clinician, who is there?
   11   that.                                                          11      A       That's a clinical judgment.
   12      Q        Do you know if there are a lot of cases?           12      Q       And they could call it a suicidal ideation,
   13      A       A lot of cases in FDA --                            13   correct?
   14      Q        In the FDA database where suicidal ideation        14            MR. BARNES: Objection. You may answer.
   15   is the only term marked as serious?                            15      A       That is a clinical judgment.
   16      A       I'm not aware of the number of cases or if          16      Q       Okay. But you're making a judgment here
   17   there are any. That's hypothetical.                            17   that suicidal ideation is never serious and there
   18      Q        And you didn't look at Gabapentin to see if        18   you're willing to make that statement that it's never
   19   there were any cases of suicide ideation as the only           19   serious, but you're not willing to make a statement
   20   event marked serious, correct?                                 20   that it could be serious. I don't understand why it
   21      A       I looked at suicide ideation with                   21   isn't a two way street?
   22   Gabapentin. I didn't look for ones that just had that          22            MR. BARNES: Objection. Two different
   23   one term in them. I did find quite a few that had many         23   questions. You may answer again.
   24   terms, like 20 to 40 terms of which it was one of many         24      A       In one case I'm talking about a report has
   25   terms.                                                         25   a term. The term is not how seriousness or



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   1       Q        Okay. But you cannot tell, just by looking         1    non-seriousness is defined. It is defined by CFR that
   2    at the terms selected, as to which one of the events           2    it is defined by the outcome; what happened to the
   3    caused the event -- which one of the terms caused the          3    patient. Not by what the event was. So there are some
   4    overall event to be considered serious, correct?               4    events that are, by their nature, serious.
   5             MR. BARNES: Objection. If you know, you               5    Particularly those events like suicide that result in
   6    can answer.                                                    6    death.
   7       A       In my report I go through a couple of cases         7       Q       Isn't there also a category for where they
   8    where I found that there were some events which really         8    reported things, while it doesn't meet one of those
   9    by definition would be serious because they're life            9    explicit definitions, they think it could lead to one
   10   threatening like QT prolongation. Do I know the intent         10   of those outcomes?
   11   of the reporter? No. But it makes a lot of sense that          11            MR. BARNES: Objection. Calls for
   12   that would be the reason of someone having a heart             12   speculation.
   13   attack, a QT prolongation would meet the serious all           13      A       What are you --
   14   the time.                                                      14      Q       Do you know if there's a box on the
   15            But suicide ideation would not by itself              15   MedWatch form for other?
   16   meet the definition of a serious event.                        16      A       There is a box for other.
   17      Q        If somebody put a gun up to their head and         17      Q       And that that box is to be used when in the
   18   said I think I want to blow my brains out, is that a           18   opinion of the reporter the event, while not meeting
   19   suicide attempt?                                               19   one of the other conditions, death, et cetera, could
   20            MR. BARNES: Objection. If you know.                   20   lead to one of those conditions, correct?
   21      A       I'm not a clinical doctor. I believe it             21      A       Box other does not have that clear a
   22   probably could be. Depending on the circumstances.             22   definition of how it's used. I find that it's used
   23      Q        It could also be just suicide ideation,            23   pretty broadly for just about anything.
   24   correct?                                                       24      Q       Have you read the instructions to the
   25      A       I think it goes beyond ideation, even for a         25   MedWatch form?




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   1       A     Yes.                                                1    of terms, like this HLT, then there's just -- you've
   2       Q        MedWatch form specifically says that when        2    got to include all the terms.
   3    the reviewer thinks that it could lead to one of those       3            So there's other -- there's other preferred
   4    things, they can mark the other box, correct?                4    terms under other system organ classes, under other
   5       A     Yes, other serious events.                          5    HLTs that are for example in the data capture rate that
   6       Q        So to make the statement that suicidal           6    are suicide related. But they are not all -- depends,
   7    ideation is nonserious is not necessarily a true             7    they're not all by definition serious. And again you
   8    statement, is it?                                            8    need to make sure that a priori they're established,
   9            MR. BARNES: Objection. Asked and                     9    which a protocol is. It has to make sense. This
   10   answered. You can answer it again.                           10   doesn't make sense to me.
   11      A     By itself the term suicidal ideation does           11      Q       But if a clinician thought so, they could
   12   not mean that the patient had an event that met the FDA      12   have good reason, correct?
   13   definition of serious. Conversely, if someone commits        13           MR. BARNES: Objection.
   14   suicide, that does, by itself, just that term,               14      A       In data mining and spontaneous report, I
   15   automatically meet the definition of serious. That's         15   would have to say that might not -- I wouldn't
   16   what I'm telling you.                                        16   necessarily agree. No.
   17      Q        Okay. That's fine.                               17      Q       Okay. You may object -- aside from
   18           Would you look at how many reports of                18   disagreeing with whether it's HLT or not, whether you
   19   intentional self-injury were in the database?                19   should use the HLT or not, does the data in between the
   20      A     Did I look at --                                    20   black bars of Exhibit 25 suggest that there is a ratio
   21      Q        For all drugs?                                   21   greater than two, a chi-squared greater than 4 and you
   22      A     I did not analyze those because I don't             22   don't know the number of reports but assume for the
   23   believe that those are going to tell me anything when I      23   sake of argument that anything that is 1 percent of the
   24   do a data mining exercise.                                   24   entire background of all events has to be greater than
   25      Q        So it's your suggestion that intentional         25   4 reports?



                                                               250                                                                 252
   1    self-injury has nothing whatsoever to do with                1       A       Why does it have to be greater than four
   2    suicidality?                                                 2    reports?
   3            MR. BARNES: Objection. You may answer.               3       Q       How many reports are there -- how many
   4       A     I'm not making a clinical definition. I'm           4    reports are there in the AERS database?
   5    not making clinical judgment. I'm data mining on two         5            MR. BARNES: These are cumulative, correct?
   6    event terms that are used in the epidemiologic               6            MR. ALTMAN: Yeah.
   7    literature that are by definition serious.                   7       Q       At the point in time we're talking about,
   8       Q        Who picked those terms to use?                   8    how many reports are there in the AERS database?
   9       A     I based it on the work done by Bentson              9       A       Currently over 3 million.
   10   McFarland who did an epidemiological study suicide an        10      Q       What's 1 percent of 3 million? In '99,
   11   suicide attempt.                                             11   just between '97 and '99 would you say there's at least
   12      Q        Did anybody tell you not to use suicidal         12   a million reports?
   13   ideation?                                                    13           MR. BARNES: If you know.
   14      A     No one told me what to do. I set my own             14      A       Probably about that because it's really
   15   protocol.                                                    15   grown over time.
   16      Q        So if somebody with clinical experience          16      Q       What's 1 percent of a million, about
   17   felt that suicidal ideation should be looked at, as          17   10,000?
   18   someone who is not a clinician and not a suicide             18      A       Okay.
   19   expert, would you have the experience to dispute that?       19      Q       That's a lot more than four, right?
   20           MR. BARNES: For data mining purposes?                20      A       That's for the -- for all the drugs, right.
   21      Q        For data mining purposes.                        21      Q       For all the drugs. So you don't have any
   22      A     For data mining purposes I would talk to            22   real worry that 1 percent of the background is more
   23   them and say that I want to make sure that the events        23   than four reports here, right?
   24   that I look at are considered by themselves serious and      24      A       I mean, it would be an assumption. But a
   25   if you're going to start putting together constellation      25   reasonable assumption potentially.




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